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                                                                  Nov 20, 2013
                                                               CENTRAL DISTRICT OF CALIFORNIA

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